Case 2:10-cr-20705-RHC-MKM ECF No. 623, PageID.3940 Filed 03/29/13 Page 1 of 2




                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

               Plaintiff,

 v.                                                       Case No. 10-CR-20705

 FATIMA HOUSSEIN TOUFAILI,

            Defendant.
 _________________________/

                        ORDER STRIKING PRO SE APPLICATIONS

        Before the court is are two applications, filed pro se by Fatima Houssein Toufaili.

 The court will strike the applications because, at the time of the filing, Defendant was

 represented by counsel. Thus, all filings must be made by the attorney of record.1

        Defendant is not entitled to represent herself while simultaneously represented

 by counsel. A criminal defendant has the right to appear pro se or by counsel, a right

 protected both by the Sixth Amendment to the United States Constitution and by federal

 statute. See 28 U.S.C. § 1654 (“In all courts of the United States the parties may plead

 and conduct their own cases personally or by counsel . . . .”); see also Faretta v.

 California, 422 U.S. 806, 807, 832 (1975); United States v. Daniels, 572 F.2d 535, 540

 (5th Cir. 1978); Ennis v. LeFevre, 560 F.2d 1072, 1075 (2nd Cir. 1977); United States

 v. Williams, 534 F.2d 119, 123 (8th Cir. 1976). This right, however, is disjunctive, thus a

 party may chose either to represent herself or to appear through an attorney. There is

 no right to “hybrid” representation that would result in simultaneous or alternating self-

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       Additionally, the court notes that the applications are also moot, as they relate to
 an appeal which Defendant has voluntarily dismissed.
Case 2:10-cr-20705-RHC-MKM ECF No. 623, PageID.3941 Filed 03/29/13 Page 2 of 2




 representation and representation by counsel. A person represented by counsel must

 rely upon that counsel. See, e.g., United States v. Olson, 576 F.2d 1267, 1269-70 (8th

 Cir. 1978); Daniels, 572 F.2d at 540; Ennis, 560 F.2d at 1075; Williams, 534 F.2d at

 123; United States v. Hill, 526 F.2d 1019, 1024-25 (10th Cir. 1975); Move Org. v. City of

 Phila., 89 F.R.D. 521, 523 n.1 (E.D.Pa.1981); United States ex rel. Snyder v. Mack, 372

 F.Supp. 1077, 1078-79 (E.D.Pa.1974); cf. Storseth v. Spellman, 654 F.2d 1349,

 1352-53 (9th Cir. 1981) (once counsel is appointed, prisoner has no right to assistance

 from inmate writer). In light of this case law, the court will only accept motions filed by

 Defendant’s attorney of record.

            IT IS ORDERED that Defendant Toufaili’s “Application to Proceed In Forma

 Pauperis” and “Application for Leave to Appeal” [Dkt. ## 606 & 607] are hereby

 STRICKEN from the docket of this court.


                                                                      S/Robert H. Cleland
                                                                     ROBERT H. CLELAND
                                                                     UNITED STATES DISTRICT JUDGE
 Dated: March 29, 2013


 I hereby certify that a copy of the foregoing document was mailed to counsel of record
 on this date, March 29, 2013, by electronic and/or ordinary mail.

                                                                      S/Lisa Wagner
                                                                     Case Manager and Deputy Clerk
                                                                     (313) 234-5522




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